     CASE 0:08-cv-05758-MJD-SER Document 185 Filed 04/16/19 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Civil No. 08-CV-05758-MJD-SER


 LAURIE SIMPSON, et al.,

                      Plaintiff,                         NOTICE OF APPEARANCE

        v.

 BAYER CORPORATION, et al.,

                      Defendants.



       PLEASE TAKE NOTICE that Assistant United States Attorney Ann M. Bildtsen

hereby notes her appearance as counsel for Plaintiff United States of America in the above-

referenced matter.



Dated: 04/16/2019                                ERICA H. MacDONALD
                                                 United States Attorney

                                                 s/ Ann M. Bildtsen

                                                 BY: ANN M. BILDTSEN
                                                 Assistant U.S. Attorney
                                                 Attorney ID No. 271494
                                                 600 U.S. Courthouse
                                                 300 S. Fourth Street
                                                 Minneapolis, MN 55415
                                                 Phone: 612-664-5600
                                                 Fax: 612-664-5788
                                                 Ann.Bildtsen@usdoj.gov

                                                Attorneys for Plaintiff United States
                                                of America
